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                                   1                                   UNITED STATES DISTRICT COURT

                                   2                                  NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         MAXIMILIAN KLEIN, et al.,
                                   4                                                          Case No. 3:20-cv-08570-JD
                                                        Plaintiffs,
                                   5
                                                 v.                                           SCHEDULING ORDER
                                   6
                                         META PLATFORMS, INC.,
                                   7
                                                        Defendant.
                                   8

                                   9

                                  10          The Court sets the following case management deadlines pursuant to Federal Rule of Civil

                                  11   Procedure 16 and Civil Local Rule 16-10. The parties are advised to review and comply with the

                                  12   Court’s Standing Order for Civil Cases, Standing Order for Discovery in Civil Cases, and
Northern District of California
 United States District Court




                                  13   Standing Order for Civil Jury Trials.

                                  14

                                  15                                   Event                                         Deadline
                                  16     Add parties or amend pleadings                                  Closed

                                  17     Fact discovery cut-off                                          January 13, 2023
                                  18     Plaintiffs’ class certification expert disclosures              January 27, 2023
                                  19     Defendant’s class certification expert disclosures              February 24, 2023
                                  20
                                         Plaintiffs’ class certification reply expert disclosures        March 24, 2023
                                  21
                                         Last day to file class certification and class Daubert          April 7, 2023
                                  22     motions

                                  23     Last day to file oppositions to class certification and class   May 12, 2023
                                         Daubert motions
                                  24

                                  25     Last Day to file replies to class certification and class       June 9, 2023
                                         Daubert motions
                                  26
                                         Last day to file joint submission for class certification       June 12, 2023
                                  27     concurrent expert proceeding
                                  28
                                           Case 3:20-cv-08570-JD Document 289 Filed 04/29/22 Page 2 of 2




                                   1                                   Event                                           Deadline
                                   2     Class certification concurrent expert proceeding                 June 27, 2023, at 11:00 a.m.

                                   3     Class certification hearing                                      July 13, 2023, at 10:00 a.m.
                                   4     Bilateral merits expert disclosures                              August 4, 2023
                                   5     Bilateral merits rebuttal expert disclosures                     September 8, 2023
                                   6
                                         Merits expert discovery cut-off                                  October 20, 2023
                                   7
                                         Last day to file dispositive and merits Daubert motions          November 17, 2023
                                   8
                                         Last day to file oppositions to dispositive and merits           December 15, 2023
                                   9     Daubert motions
                                  10     Last day to file replies to dispositive and merits Daubert       January 5, 2024
                                  11     motions

                                  12     Last day to file joint submission for merits concurrent          January 8, 2024
Northern District of California




                                         expert proceeding
 United States District Court




                                  13
                                         Merits concurrent expert proceeding                              January 23, 2024 at 11:00 a.m.
                                  14
                                         Dispositive and merits Daubert motions hearing                   February 1, 2024, at 10:00 a.m.
                                  15
                                         Pretrial conference                                              June 27, 2024, at 1:30 p.m.
                                  16

                                  17     Jury Trial                                                       July 15, 2024, at 9:00 a.m.

                                  18          All dates set by the Court should be regarded as firm. Counsel may not modify these dates
                                  19   by stipulation without leave of court. Requests for continuances are disfavored, and scheduling

                                  20   conflicts that are created subsequent to the date of this order by any party, counsel or party-

                                  21   controlled expert or witness will not be considered good cause for a continuance. Sanctions may

                                  22   issue for a failure to follow a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).

                                  23          IT IS SO ORDERED.

                                  24   Dated: April 29, 2022

                                  25                                                    ______________________________________
                                                                                        JAMES DONATO
                                  26                                                    United States District Judge
                                  27

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